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                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     MADISON COPELAND,                                 Case No. 18-cv-05859-SVK
                                                        Plaintiff,
                                   5
                                                                                           ORDER REASSIGNING CASE
                                                 v.
                                   6

                                   7     [24]7.AI, INC.,
                                                        Defendant.
                                   8

                                   9

                                  10          GOOD CAUSE APPEARING THEREFORE,

                                  11          IT IS ORDERED that this case is reassigned to the Honorable Beth Labson Freeman in

                                  12   the SAN JOSE division for all further proceedings. Counsel are instructed that all future filings
Northern District of California
 United States District Court




                                  13   shall bear the initials BLF immediately after the case number.

                                  14          All hearing and trial dates presently scheduled are vacated. However, existing briefing

                                  15   schedules for motions remain unchanged. Motions must be renoticed for hearing before the judge

                                  16   to whom the case has been reassigned, but the renoticing of the hearing does not affect the prior

                                  17   briefing schedule. Other deadlines such as those for ADR compliance and discovery cutoff also

                                  18   remain unchanged.

                                  19   Dated: October 17, 2018                          FOR THE EXECUTIVE COMMITTEE

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                                  21
                                                                                        Susan Y. Soong
                                  22                                                    Clerk, United States District Court
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                                  25   A true and correct copy of this order has been served by mail upon any pro se parties.
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